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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 BERKLEY INSURANCE CO., et al.,

                        Plaintiffs,                 Case No. 1:13-cv-1053-RCL

                 v.

 THE FEDERAL HOUSING FINANCE
 AGENCY, et al.,

                        Defendants.

 IN RE FANNIE MAE/FREDDIE MAC
 SENIOR PREFERRED STOCK
 PURCHASE AGREEMENT CLASS                           Case No. 1:13-mc-1288-RCL
 ACTION LITIGATIONS
 _______________________________

 This document relates to:
 ALL CASES


                                      [PROPOSED] ORDER

         Upon consideration of Plaintiffs’ Opposition to Defendants’ Motion for a Curative

Instruction Regarding Plaintiffs’ Statement to the Jury That a Document “Was Never Produced in

This Case,” and for the reasons stated in Plaintiffs’ opposition, it is hereby,

         ORDERED that Defendants’ motion is DENIED.



Dated:                                                         BY THE COURT:

                                                               __________________________
                                                               Royce C. Lamberth,
                                                               United States District Judge
